                   2:17-cr-20037-JES-JEH # 414                    Page 1 of 6                                                E-FILED
                                                                                            Wednesday, 26 June, 2019 10:02:19 AM
AO 187 (Rev. 7/87) Exhibit and Witness List                                                         Clerk, U.S. District Court, ILCD

                                       UNITED STATES DISTRICT COURT
                                              CENTRAL        DISTRICT OF          ILLINOIS



           UNITED STATES OF AMERICA
                                                                                 SUPPLEMENTAL EXHIBIT LIST
                      V.
            BRENDT A. CHRISTENSEN                                                  Case Number:        17-CR-20037

PRESIDING JUDGE                                      PLAINTIFF’S ATTORNEY                     DEFENDANT’S ATTORNEY
                                                                                                 Elisabeth Pollock, Robert Tucker,
                                                      Eugene L. Miller, Bryan D. Freres,
     The Honorable James E. Shadid                                                                George Taseff, Julie Brain, and
                                                            and James B. Nelson
                                                                                                       Matthew Rubenstein
TRIAL DATE (S)                                       COURT REPORTER                           COURTROOM DEPUTY
         June 3, 2019 – July 31, 2019                           Nancy Mersot                                Jeremy Kelly
  PLF.     DEF.    DATE
                              MARKED      ADMITTED                          DESCRIPTION OF EXHIBITS AND WITNESSES
  NO.      NO.    OFFERED

                                                     All Exhibits Previously Disclosed on the Government’s Exhibit List
1.-66
                                                     filed on May 28, 2019 and/or Previously Admitted at Trial
100A-
                                                     Family photographs of Yingying Zhang
 Z..

 101.                                                Video of the family home of Yingying Zhang

 102.                                                Video of Yingying Zhang singing

 103.                                                Video of Yingying Zhang’s schools

104A-                                                Photographs of items in Yingying Zhang’s Orchard Downs apartment
  Z.                                                 on July 28, 2017
105A-                                                Photographs of Yinying Zhang while working as visiting scholar for
  Z.                                                 the University of Illinois

 106.                                                Video of Ye Cai, friend of Yingying Zhang (victim impact evidence)

106-
                                                     Transcript (English translation) of Exhibit 106
TR.
106A-
                                                     Photographs of items and photographs re: Ye Cai and Yingying Zhang
  J.
                                                     Video of Lisha Feng, friend of Yingying Zhang (victim impact
 107.
                                                     evidence)
107-
                                                     Transcript (English translation) of Exhibit 107
TR.
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107A-                      Photographs of items and photographs re: Lisha Feng and Yingying
  J.                       Zhang

108.                       Video of Yanyu Li, friend of Yingying Zhang (victim impact evidence)

108-
                           Transcript (English translation) of Exhibit 108
TR.
108A-                      Photographs of items and photographs re: Yanyu Li and Yingying
  J.                       Zhang
                           Video of Zujuan Qi, friend of Yingying Zhang (victim impact
109.
                           evidence)
109-
                           Transcript (English translation) of Exhibit 109
TR.
109A-                      Photographs of items and photographs re: Zujuan Qi and Yingying
  J.                       Zhang
                           Video of Shuang Wu, friend of Yingying Zhang (victim impact
110.
                           evidence)
110-
                           Transcript (English translation) of Exhibit 110
TR.
110A-                      Photographs of items and photographs re: Shuang Wu and Yingying
  J.                       Zhang
                           Video of Xiao Zhang, friend of Yingying Zhang (victim impact
111.
                           evidence)
111-
                           Transcript (English translation) of Exhibit 111
TR.
111A-                      Photographs of items and photographs re: Xiao Zhang and Yingying
  J.                       Zhang
                           Video of Kaiyu Zhao, friend of Yingying Zhang (victim impact
112.
                           evidence)
112-
                           Transcript (English translation) of Exhibit 112
TR.
112A-                      Photographs of items and photographs re: Kaiur Zhao and Yingying
  J.                       Zhang

                           Compact disk containing clip of Macon County Jail call of the
113.                       defendant on July 3, 2017 around 3:45 pm



                           Transcript of Exhibit 113
113-
TR.
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                          Compact disk containing clip of Macon County Jail call of the
114.                      defendant on July 3, 2017 around 5:00 pm



                          Transcript of Exhibit 114
114-
TR.


                          Compact disk containing clip of Macon County Jail call of the
115.                      defendant on July 17, 2017 around 12:47 pm



                          Transcript of Exhibit 115
115-
TR.


                          Compact disk containing clip of Macon County Jail call of the
116.                      defendant on August 26, 2017 around 3:26 pm



                          Transcript of Exhibit 116
116-
TR.


                          Compact disk containing clip of Macon County Jail call of the
117.                      defendant on September 2, 2017 around 3:30 pm



                          Transcript of Exhibit 117
117-
TR.


                          Compact disk containing clip of Macon County Jail call of the
118.                      defendant on September 3, 2017 around 3:44 pm



                          Transcript of Exhibit 118
118-
TR.


                          Compact disk containing clip of Macon County Jail call of the
119.                      defendant on September 5, 2017 around 4:17 pm
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                           Transcript of Exhibit 119
119-
TR.


                           Compact disk containing clip of Livingston County Jail call of
120.                       the defendant on October 23, 2017 around 8:24 pm



                           Transcript of Exhibit 120
120-
TR.


                           Compact disk containing clip of Livingston County Jail call of
121.                       the defendant on November 12, 2017 around 4:01 pm



                           Transcript of Exhibit 121
121-
TR.


                           Compact disk containing clip of Peoria County Jail call of the
122.                       defendant on June 19, 2019 around 10:42 am



                           Transcript of Exhibit 122
122-
TR.


                           Tinder records for the account of brendtchristensen@gmail.com
123A.                      from March 29, 2017 to June 30, 2017



                           Summary of Exhibit 123A
123B.


                           OKCupid records for the account of WorldsApart689 affiliated
124A.                      with lovemachine689@gmail.com from March 28, 2017 to June
                           30, 2017

                           Summary of Exhibit 124A
124B.
        2:17-cr-20037-JES-JEH # 414   Page 5 of 6



                           Handwritten note of the defendant seized from the Macon
125.                       County Jail on August 29, 2017



126-1                      Photographs of items seized from the defendant at the
  to                       Livingston County Jail on December 14, 2018
126-5
       2:17-cr-20037-JES-JEH # 414         Page 6 of 6


                               CERTIFICATE OF SERVICE

        I hereby certify that on June 26, 2019, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which will send notification of such filing
to all CM/ECF participants.




                                           s/ Eugene L. Miller
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